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         APPENDIX B
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                        JJHCS INDEX IN SUPPORT OF MOTION TO SEAL
   LETTERS TO JUDGE WOLFSON REGARDING THE MOTION TO COMPEL INTERROGATORY RESPONSES
                                  (MARCH 12, 20 & 22, 2024)

Material/Title of   Basis for Sealing (Legitimate      Clearly Defined and            Why a Less            Prior        Party in
  Document           Private or Public Interests        Serious Injury that            Restrictive          Order       Opposition
                     That Warrant the Relief)          Would Result if Relief      Alternative to the     Sealing the   to Sealing
                                                          Is Not Granted          Relief Sought Is Not      Same
                                                                                       Available           Materials

                                           Letter from George LoBiondo (Mar. 22, 2024)
                                         2024.03.22 JJHCS reply re_ MTC ROG responses

Redactions to       JJHCS requests the sealing of      If filed on the public     JJHCS requests the      None          None
Plaintiff’s Fifth   certain redactions to Exhibit 38   docket, these exhibits     sealing of only the
Request for the     to the March 22 letter that are    and related discussion     information that will
Production of       not known to the general           will reveal confidential   reveal confidential
Documents           public and for which the           material relating to       information that is
                    parties agreed to keep             JJHCS and Archbow’s        not known to the
JJHCS Exhibit       confidential. JJHCS maintains      sensitive business         general public. No
38                  that this information contains     information.               less restrictive
                    sensitive business information                                alternative is
                    produced by non-party              Disclosure of this         available or
                    Archbow.                           confidential and           practicable.
                                                       proprietary information
                                                       to the public would        JJHCS is producing
                                                       cause irreparable harm     redacted public
                                                       to JJHCS because it        versions.
                                                       would place JJHCS at a
                                                       competitive
                                                       disadvantage if its
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Material/Title of   Basis for Sealing (Legitimate   Clearly Defined and           Why a Less           Prior        Party in
  Document           Private or Public Interests     Serious Injury that           Restrictive         Order       Opposition
                     That Warrant the Relief)       Would Result if Relief     Alternative to the    Sealing the   to Sealing
                                                       Is Not Granted         Relief Sought Is Not     Same
                                                                                   Available          Materials

                                                    competitors secured the
                                                    information.




                                                              2
